 Case 3:17-cv-00198-LAB-WVG Document 86 Filed 10/24/18 PageID.2469 Page 1 of 1




                         United States District Court
                            SOUTHERN DISTRICT OF CALIFORNIA


Tiffany Dehen
                                                             Civil Action No.   17cv198-LAB-WVG

                                                Plaintiff,
                                         V.
John Doe; Twitter, Inc.; University of                        JUDGMENT IN A CIVIL CASE
San Diego; John Does 1-100; Perkins
Coie, LLP.
                                              Defendant.


Decision by Court. This action came to trial or hearing before the Court. The issues have been tried
or heard and a decision has been rendered.

IT IS HEREBY ORDERED AND ADJUDGED:
Judgment is in favor of Twitter, USD, and Perkins Coie.




Date:         10/24/18                                         CLERK OF COURT
                                                               JOHN MORRILL, Clerk of Court
                                                               By: s/ J. Taylor
                                                                                     J. Taylor, Deputy
